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                            UNITED STATES DISTRICT COURT
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                          SOUTHERN DISTRICT OF CALIFORNI
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UNITED STATES OF AMERICA,                    CASE NO. 15CR3004-BAS         -,.~


                           Plaintiff,
                 vs.                         JUDGMENT OF DISMISSAL
ANABEL MERCADO     (~),


                           Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

      an indictment has been filed in another case against the defendant and
      the Court has granted the motion of the Government for dismissal of
      this case, without prejudice; or

      the Court has dismissed the case for unnecessary delay; or

~     the Court has granted the motion of the Government for dismissal,
      without prejudice; or

      the Court has granted the motion of the defendant for a judgment of
      acquittal; or

      a jury has been waived, and the Court has found the defendant not
      guilty; or

      the jury has returned its verdict, finding the defendant not guilty;

 XX   of the offense(s) as charged in the Indictment/Information:

      21 USC 846 AND 841(a) (1) - CONSPIRACY TO DISTRIBUTE METHAMPHETAMINE



            IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: APRIL 8, 2016
                                              Cynthia Bashant
                                              U.S. District Judge
